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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                      GREAT FALLS MONTANA

UNITED STATES OF AMERICA,                    Case No. CR 20-19-GF-BMM

                Plaintiff,                             ORDER

vs.

MICHAEL DEVIN AZURE,

               Defendant.

      Defendant, Michael Devin Azure, having filed a Motion to Appear via

Video (Zoom) for Revocation Hearing; IT IS HEREBY ORDERED the Defendant,

Michael Devin Azure may appear via video using Zoom for the Initial

Appearance on Revocation Proceedings, currently scheduled for November 17,

2021, at 1:30 p.m.

      DATED this WK day of November, 2021.




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